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                           UNITED STATES BANKRUPTCY COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION
IN RE:                                        Case No.: 8:18-bk-06760-CPM
                                              Chapter 7
Lois Mae Wright,
            Debtor.
__________________________ /

                  MOTION TO VACATE THE COURT’S ORDER
         ON TRUSTEE’S APPLICATION TO RETAIN REAL ESTATE SERVICES

         COMES NOW, the Debtor, Lois Mae Wright, by and through her undersigned counsel,

and hereby files her Motion to Vacate the Court’s Order on Trustee’s Motion to Retain Real Estate

Services (d.e. # 20), and states:

   1. That the court entered its order on the trustee’s Application to Retain BK Global Real

         Estate Services and Weichert, Realtors-Equity as Real Estate Broker and Realtor ( d.e. #

         15) on the 15th day of October.

   2. That the trustee is seeking approval to retain real estate services to sell property that is

         exempt. The property is not property of the estate.

   3. There would be no reason for appointment of these professionals.


   4. The Trustee failed to file objection to exemptions.

         WHEREFORE, the Debtor requests that the court enter an Order Vacating its Order

Approving Application to Employ/Retain BK Global Real Estate Services, and Weichert Realtors.


                                    CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true and correct copy of the foregoing has been provided to
the following parties in interest, electronically, or via the Court’s CM\ECF system, or via first
                                                  1
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class, postage-paid U.S. mail:

Office of the U.S. Trustee, 501 E. Polk St., Ste 1200, Tampa, FL 33602, at
 USTPRegion21.TP.ECF@USDOJ.GOV;
Carolyn R. Chaney, Standing Trustee, PO Box 530248, St. Petersburg, FL 33747,
  carolyn.chaney@earthlink.net ;
Wells Fargo Home Mortgage, Attn: Bankruptcy Mac X7801-014, 3476 Stateview Blvd., Fort Mill,
 SC 29715
Elizabeth Eckhart, Esquire, Shapiro, Fishman & Gache, LLP, Attorney for Secured Creditor, 4630
 Woodland Corporate Blvd., Suite 100, Tampa, FL 33614; Email: eeckhart@logs.com;
Patrick Butler, BK Global Real Estate Services, 1095 Broken Sound Pkwy. NW, Suite 100, Boca
 Raton, FL 33487
Alexandra Gonzalez, Weichert, Realtors – Equity, 6500 1st Ave. North, St. Petersburg, FL 33710.
Lois Mae Wright, 1830 30th Ave N., St. Petersburg, FL 33713;

this 17th day of October, 2018.


                                                    /s/Robert M. Geller
                                                    Robert M. Geller
                                                    Fla. Bar No.: 588105
                                                    Robert M. Geller, P.A.
                                                    Attorney for Debtor
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